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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                     Chapter      11
                                                                                                                         Check if this an
                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/24
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                ILearningEngines, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          FDBA Arrowroot Acquisition Corp.
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                   Mailing address, if different from principal place of
                                                                                                business

                                  6701 Democracy Boulevard
                                  Bethesda, MD 20817
                                  Number, Street, City, State & ZIP Code                        P.O. Box, Number, Street, City, State & ZIP Code

                                  Montgomery                                                    Location of principal assets, if different from principal
                                  County                                                        place of business

                                                                                                Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.ilearningengines.com


6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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Debtor    ILearningEngines, Inc.                                                                   Case number (if known)
          Name



7.   Describe debtor's business       A. Check one:
                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                       Railroad (as defined in 11 U.S.C. § 101(44))
                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                       Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                       None of the above
                                      B. Check all that apply
                                       Tax-exempt entity (as described in 26 U.S.C. §501)
                                       Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                       Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                      C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                        http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                               6114

8.   Under which chapter of the       Check one:
     Bankruptcy Code is the
     debtor filing?
                                       Chapter 7
                                       Chapter 9
                                       Chapter 11. Check all that apply:
                                                            Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                are less than $3,024,725 (amount subject to adjustment on 4/01/25 and every 3 years after that).
                                                            The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                procedure in 11 U.S.C. § 1116(1)(B).
                                                            The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                                proceed under Subchapter V of Chapter 11.
                                                            A plan is being filed with this petition.
                                                            Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                accordance with 11 U.S.C. § 1126(b).
                                                               The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                (Official Form 201A) with this form.
                                                            The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                       Chapter 12
9.   Were prior bankruptcy
     cases filed by or against
                                       No.
     the debtor within the last 8      Yes.
     years?
     If more than 2 cases, attach a
     separate list.                             District                               When                                 Case number
                                                District                               When                                 Case number




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Debtor    ILearningEngines, Inc.                                                                        Case number (if known)
          Name

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor      See Rider 1                                                  Relationship

                                                    District    Delaware                    When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                        No
    real property or personal           Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                               25,001-50,000
    creditors                           50-99                                          5001-10,000                               50,001-100,000
                                        100-199                                        10,001-25,000                             More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion


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Debtor   ILearningEngines, Inc.                                                      Case number (if known)
         Name


16. Estimated liabilities    $0 - $50,000                             $1,000,001 - $10 million               $500,000,001 - $1 billion
                             $50,001 - $100,000                       $10,000,001 - $50 million              $1,000,000,001 - $10 billion
                             $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                             $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 4
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Debtor    ILearningEngines, Inc.                                                                   Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      December 20, 2024
                                                  MM / DD / YYYY


                             X /s/ Bonnie-Jeanne Gerety                                                   Bonnie-Jeanne Gerety
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Interim Chief Financial Officer




18. Signature of attorney    X /s/ Ian J. Bambrick                                                         Date December 20, 2024
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Ian J. Bambrick
                                 Printed name

                                 Faegre Drinker Biddle & Reath LLP
                                 Firm name

                                 222 Delaware Avenue
                                 Suite 1410
                                 Wilmington, DE 19801
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     302-467-4200                  Email address      ian.bambrick@faegredrinker.com

                                 5455 DE
                                 Bar number and State




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Official Form 201A (12/15)
[If debtor is required to file periodic reports (e.g. forms 10K and 10Q) with the Securities and Exchange Commission pursuant to
Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting relief under chapter 11 of the Bankruptcy Code, this
Exhibit "A" shall be completed and attached to the petition.]

                                                                United States Bankruptcy Court
                                                                       District of Delaware
 In re       ILearningEngines, Inc.                                                                       Case No.
                                                                                Debtor(s)                 Chapter     11


                                     Attachment to Voluntary Petition for Non-Individuals Filing for
                                                    Bankruptcy under Chapter 11
1. If any of the debtor's securities are registered under Section 12 of the Securities Exchange Act of 1934, the SEC file number
   is 001-40129 .

2. The following financial data is the latest available information and refers to the debtor's condition on            September 30, 2024    .

 a. Total assets                                                                                     $                148,848,000.00

 b. Total debts (including debts listed in 2.c., below)                                              $                141,036,000.00

 c. Debt securities held by more than 500 holders:                                                                             Approximate
                                                                                                                                number of
                                                                                                                                 holders:

 secured                 unsecured                   subordinated                $                        0.00                                0
 secured                 unsecured                   subordinated                $                        0.00                                0
 secured                 unsecured                   subordinated                $                        0.00                                0
 secured                 unsecured                   subordinated                $                        0.00                                0
 secured                 unsecured                   subordinated                $                        0.00                                0

 d. Number of shares of preferred stock                                                                         0                                0

 e. Number of shares common stock                                                                    140,728,275                                 0
    Comments, if any:


3. Brief description of Debtor's business:
   The Company offers an Artifical Intelligence ("AI") platform focused on automation of learning and enabling organizations
   to drive mission critical outcomes at scale.

4. List the name of any person who directly or indirectly owns, controls, or holds, with power to vote, 5% or more of the voting
   securities of debtor:
   P.K. Chidambaran; Preeta Chidambaran




Official Form 201A               Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
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                                             RIDER 1

On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a voluntary
petition in the United States Bankruptcy Court for the District of Delaware for relief under chapter
11 of title 11 of the United States Code, 11 U.S.C. §§ 101-1532. The Debtors will move for joint
administration of their cases for procedural purposes only pursuant to Rule 1015(b) of the Federal
Rules of Bankruptcy Procedure under the case number assigned to the chapter 11 case of Debtor
ILearningEngines, Inc.

           •   ILearningEngines Holdings, Inc.
           •   ILearningEngines, Inc.




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                                                 MINUTES OF MEETING
                                                         OF
                                             THE BOARDS OF DIRECTORS
                                                         OF
                                               ILEARNINGENGINES, INC.
                                                         &
                                          ILEARNINGENGINES HOLDINGS, INC.

                    A meeting (the “Meeting”) of the Boards of Directors of iLearningEngines, Inc. and
             iLearningEngines Holdings, Inc. (together, the “Board”), each a Delaware corporation (together,
             the “Company”), was held by means of videoconference via Zoom, on December 20, 2024, at
             11:00 A.M. EST.
                  The following directors were present at the Meeting: Harish Chidambaran, Bruce
             Mehlman, Thomas Olivier, Ian Davis, Michael Moe, and Balakrishnan Arackal.
                    Also present at the Meeting were Brad Bondi, Nicholas Griepsma, Bonnie-Jeanne Gerety,
             Chief Financial Officer, and David Samuels, Chief Legal Officer. The meeting was also joined
             by Ben Stacke, Patrick Corr, and Richard Bernard from Faegre Drinker Biddle & Reath, LLP
             (“Faegre Drinker”).
                    Director Harish Chidambaran acted as Chairperson of the Meeting; David Samuels acted
             as Secretary of the Meeting.
                    The Chairperson called the Meeting to order. Based on the number of directors in
             attendance at the Meeting and the Company’s bylaws, the Chairperson determined that a quorum
             was present and it was determined that the Meeting could proceed.
                     Restructuring Update
                      Mr. Olivier provided an update on a potential financing offer the Company received from
             an unaffiliated entity on December 19, 2024. After providing an overview of the terms of that
             offer, the directors asked various questions, which Mr. Olivier addressed, and discussion ensued
             regarding the potential financing and issues related to the same.
                     Ms. Gerety then provided an update regarding the Company’s financial position and
             current distress. The directors asked various questions, which Ms. Gerety addressed, and
             discussion ensued regarding the Company’s options.
                     At the conclusion of Ms. Gerety’s presentation, the Board discussed the various options
             at the Company’s disposal, which options included commencing chapter 11 or chapter 7
             bankruptcy cases before the United States Bankruptcy Court for the District of Delaware as well
             as various other options. After extensive discussions among the directors and advisors, including
             thorough questioning by the Board of Faegre Drinker regarding the implications of a chapter 11
             filing versus a chapter 7 filing, the Board voted to approve a chapter 11 filing at its earliest
             opportunity.
                    Upon motion duly made, the Board then adopted the resolutions, attached hereto as
             Exhibit A, which were approved by a majority vote of the Board with directors Bruce Mehlman,



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             Thomas Olivier, Ian Davis, and Michael Moe voting in favor and directors Harish Chidambaran
             and Balakrishnan Arackal voting against.

                   Upon motion duly made and seconded, and thereupon unanimously approved, the
             Meeting was adjourned at 12:50 P.M. EST.

                                                                         _________________________
                                                                         David Samuels
                                                                         Secretary of the Meeting




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                                                               Exhibit A
                                                        Adopted Resolutions
                     WHEREAS, the Boards of Directors of iLearningEngines, Inc. and iLearningEngines
             Holdings, Inc. (together, the “Board”), each a Delaware corporation (together, the “Company”)
             have reviewed and considered the financial and operational condition of the Company and the
             Company’s business on the date hereof, including the historical performance of the Company, the
             assets of the Company, the current and long-term liabilities of the Company, the market for the
             Company’s assets, and credit market conditions;

                     WHEREAS, the Board has surveyed potential restructuring options for the Company,
             including any potential transactions, and has considered presentations by management as well as
             legal advisors to the Company (such advisors in such applicable capacities, collectively, the
             “Advisors”) regarding the assets, liabilities, and liquidity situation of the Company, the strategic
             alternatives available to the Company and the impact of the foregoing on the Company’s business,
             prospects, and enterprise value; and

                    WHEREAS, the Board has reviewed, had the opportunity to consult with, and ask
             questions of, the management and Advisors, and fully considered each of the strategic alternatives
             available to the Company, including the relative risks and benefits of pursuing a bankruptcy
             proceeding under the provisions of chapter 11 of Title 11 of the United States Code, 11 U.S.C.
             §§ 101-1532 (the “Bankruptcy Code”);

                     NOW, THEREFORE, BE IT:

             Commencement and Prosecution of Chapter 11 Cases

                     RESOLVED, that, in the judgment of the Board, it is desirable and in the best interests of
             the Company, its creditors, stockholders, and other interested parties, that a voluntary petition (the
             “Petition”) be filed by the Company in the United States Bankruptcy Court for the District of
             Delaware (the “Bankruptcy Court”) commencing a case (the “Chapter 11 Case”) under the
             provisions of chapter 11 of the Bankruptcy Code for each of iLearningEngines, Inc. and
             iLearningEngines Holdings, Inc.; and it is further

                     RESOLVED, that the Authorized Officers (as defined below) of the Company, be, and
             each of them, acting alone or in any combination, hereby is, authorized, directed, and empowered,
             in the name of and on behalf of the Company, to execute, acknowledge, deliver, and verify the
             Petition and to cause the same to be filed with the Bankruptcy Court at such time as such
             Authorized Officer may determine; and it is further

                     RESOLVED, that the Authorized Officers be, and each of them, acting alone or in any
             combination, hereby is, authorized, directed, and empowered in the name of and on behalf of the
             Company, to execute, acknowledge, deliver, and verify and file any and all schedules, statements
             of affairs, lists, and other papers and to take any and all related actions that such Authorized
             Officers may deem necessary or proper in connection with the filing of the Petition and
             commencement of the Chapter 11 Case; and it is further
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                     RESOLVED, that the Authorized Officers be, and each of them, acting alone or in any
             combination, hereby is, authorized, directed, and empowered, from time to time in the name and
             on behalf of the Company, to perform the obligations of the Company under the Bankruptcy Code,
             with all such actions to be performed in such manner, and all such certificates, instruments,
             guaranties, notices, and documents to be executed and delivered in such form, as any Authorized
             Officer performing or executing the same shall approve, and the performance or execution thereof
             by such Authorized Officer shall be conclusive evidence of the approval thereof by such
             Authorized Officer and by the Company; and it is further

                     RESOLVED, that the Authorized Officers be, and each of them, acting alone or in any
             combination, hereby is, authorized, directed, and empowered from time to time in the name and
             on behalf of the Company, to cause the Company to enter into, execute, deliver, certify, file, record,
             and perform such agreements, instruments, motions, affidavits, applications for approvals or
             rulings of governmental or regulatory authorities, certificates or other documents, to pay all
             expenses, including filing fees, and to take such other actions, as in the judgment of such
             Authorized Officers, shall be necessary, proper, and desirable to prosecute to a successful
             completion the Chapter 11 Case and to effectuate the restructuring or liquidation of the Company’s
             debt, other obligations, organizational form and structure, and ownership of the Company, all
             consistent with the foregoing resolutions and to carry out and put into effect the purposes of these
             resolutions, and the transactions contemplated by these resolutions, their authority thereunto to be
             evidenced by the taking of such actions; and it is further

             Retention of Professionals

                      RESOLVED, that the law firm of Faegre Drinker Biddle & Reath LLP (“Faegre Drinker”)
             be, and hereby is, authorized, directed, and empowered to represent the Company as corporate,
             finance, restructuring, and bankruptcy counsel to represent and assist the Company in carrying out
             its duties under the Bankruptcy Code, and to take any and all actions to advance the Company’s
             rights, including the preparation of pleadings and filings in the Chapter 11 Case; and in connection
             therewith, the Authorized Officers be, and each of them, acting alone or in any combination,
             hereby is, authorized, directed, and empowered, on behalf of and in the name of the Company to
             execute appropriate retention agreements, pay appropriate retainers prior to the filing of the
             Chapter 11 Case, and to cause to be filed an appropriate application for authority to retain the
             services of Faegre Drinker; and it is further

                    RESOLVED, that the Authorized Officers be, and each of them, acting alone or in any
             combination, hereby is, authorized, directed, and empowered, on behalf of and in the name of the
             Company to employ any other individual and/or firm as professionals, consultants, financial
             advisors, or investment bankers to the Company as are deemed necessary to represent and assist
             the Company in carrying out its duties under the Bankruptcy Code, and in connection therewith,
             the Authorized Officers be, and each of them, acting alone or in any combination, hereby is,
             authorized, directed, and empowered, on behalf of and in the name of the Company to execute
             appropriate retention agreements, pay appropriate retainers prior to the filing of the Chapter 11
             Case, and to cause to be filed an appropriate application for authority to retain the services of such
             firms.


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                      RESOLVED, that the Authorized Officers be, and each of them, acting alone or in any
             combination, hereby is, authorized, directed, and empowered, on behalf of and in the name of the
             Company, to secure the payment and performance of any post-petition financing by (i)(a) pledging
             or granting liens or mortgages on, or security interests in, all or any portion of the Company’s
             assets, whether now owned or hereafter acquired, and (b) causing any subsidiary of the Company,
             if any, to pledge or grant liens or mortgages on, or security interests in, all or any portion of such
             subsidiary’s assets, whether now owned or hereafter acquired, and (ii) entering into or causing to
             be entered into, including, without limitation, causing any subsidiaries of the Company to enter
             into, such credit agreements, guarantees, other debt instruments, security agreements, pledge
             agreements, control agreements, inter-creditor agreements, mortgages, deeds of trust, and other
             agreements as are necessary, appropriate, or desirable to effectuate the intent of, or matters
             reasonably contemplated or implied by, this resolution in such form, covering such collateral and
             having such other terms and conditions as are approved or deemed necessary, appropriate, or
             desirable by the Authorized Officer executing the same, the execution thereof by such Authorized
             Officer to be conclusive evidence of such approval or determination.

             General Resolutions

                     RESOLVED, that the Board hereby adopts any resolution required under the applicable
             securities laws of any jurisdiction to be adopted in connection with any of the transactions
             contemplated hereby, if (i) in the opinion of any Authorized Officer, the adoption of such
             resolution is necessary or advisable, and (ii) the corporate secretary of the Company evidences
             such adoption by inserting into the minute book of the Company a copy of such resolution, which
             will thereupon be deemed to have been adopted by the Board with the same force and effect as if
             specifically presented to a duly called meeting of the Board; and it is further

                     RESOLVED, that the Chief Executive Officer, Chief Operating Officer, Chief Financial
             Officer, and Chief Legal Officer (the “Authorized Officers”) are hereby each severally authorized
             in the name of and on behalf of the Company to perform any and all acts as may be necessary or
             desirable to execute, file, and deliver all instruments and other documents contemplated by the
             foregoing resolutions and to take any and all further action that such person or persons may deem
             necessary or desirable to effectuate any action authorized by these resolutions and otherwise to
             carry out the purposes and intentions of the foregoing resolutions; and the execution by any such
             person or persons of any such documents or the performance by any such person or persons of any
             such act in connection with the foregoing matters shall conclusively establish his or her authority
             therefor from the Company and the approval and ratification by the Company of the documents so
             executed and the actions so taken; and it is further

                    RESOLVED, that any and all actions heretofore taken by any Authorized Officer in
             connection with the transactions and other matters contemplated by the foregoing resolutions are
             hereby ratified, approved, confirmed and accepted in all respects.




                                                                     A-3
